B 1 (Offcial Form 1) (1/08)                     Case 09-10750-MFW                      Doc 1         Filed 03/05/09                   Page 1 of 6
                                                United States Bankruptcy Court
                                                   District of   Delaware
 Name of     Debtor (if   individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
 Monaco Coach Corporation
 All Other Names used by the Debtor in the last 8 years                                              All Other Names used by the Joint Debtor in the last 8 years
 (include mamed, maiden, and trade names):                                                           (include mamed, maiden, and trade names):
 See Attachment
 Last four digits of Soc. Sec. or Individual-Taxpayer 1.D. (ITIN) No./Complete EIN                   Last four digits of Soc. Sec. or Individual-Taxpayer 1.D. (ITIN) No./Complete EIN
 (if more than one, state all): 35- 1880244                                                          (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                         Street Address of Joint Debtor (No. and Street, City, and State):
 91320 Coburg Industral Way
 Coburg, OR
                                                         ZIP CODE 97408
                                                                                                                                                                 ZIP CODE
 County of Residence or of the Principal Place of Business:
                                                                                                     County of   Residence or of   the Principal Place of    Business:
 Lane County
 Mailing Address of        Debtor (if different from street address):
                                                                                                     Mailing Address of Joint Debtor (if different from street address):


                                                                 ZIP CODE
                                                                                                                                                                 ZIP CODE

 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                I ZIP CODE                   I

                          Type of Debtor                                        Nature of Business                                 Chapter of Bankruptcy Code Under Which
                   (Form of Organization)                           (Check one box.)                                                  the Petition is Filed (Check one box.)
                       (Check one box.)                                  Health Care Business                          D       Chapter 7             D      Chapter 15 Petition for
 D        Individual (includes Joint Debtors)                         B   Single Asset Real Estate as defined in       D       Chapter 9                    Recognition of a Foreign
          See Exhibit D on page 2 of this form                             11 US.C. § 101(51B)
                                                                                                                       ~       Chapter 1 1
                                                                                                                                                     D
                                                                                                                                                            Main Proceeding

 ~        Corporation (includes LLC and LLP)                               Railroad
                                                                           Stockbroker
                                                                                                                       D       Chapter 12
                                                                                                                                                            Chapter 15 Petition for
                                                                                                                                                            Recognition of a Foreign
 D        Partnership
                                                                           Commodity Broker                            D       Chapter 13                   Nonmain Proceeding
 D        Other (If debtor is not one of the above entities,
                                                                           Clearing Bank
          check this box and state tye of entity below.)                                                                                         Nature of Debts
                                                                      ~    Other - RV Sales                                                      (Check one box.)

                                                                                                                       D Debts are primarily consumer,           ~ Debts are primarily
                                                                                Tax-Exempt Entity                         debts defined in 1 i US.C.                  business debts

                                                                             (Check box, if applicable.)                     § 101 (8) as "incurred by an
                                                                      D    Debtor is a tax-exempt organization               individual primarily for a
                                                                                                                             personal, family, or house-
                                                                           under Title 26 òf the United States
                                                                           Code (the Internal Revenue Code).                 hold purpose."

                                         Filng Fee (Check one box.)                                                                     Chapter 11 Debtors
                                                                                                     Check one box:
 ~        Full Filing Fee attached.                                                                  D     Debtor is a small business debtor as defined in Ii U.S.c. § 101(51D).

 D        Filing Fee to be paid in installments (applicable to individuals only). Must attach        ~     Debtor is not a small business debtor as defined in 11 US.c. § 101(51D).
          signed application for the court's consideration certifying that the debtor is             Check if:
          unable to pay fee except in installments. Rule 1 006(b). See Offcial Form 3A.
                                                                                                     D   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                         insiders or affiliates) are less than $2,190,000.
  D       Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
          attach signed application for the court's consideration. See Offcial Form 3B.              Check all applicable boxes:

                                                                                                         Acceptances
                                                                                                     B A plan is beingoffied
                                                                                                                          the with
                                                                                                                              plan were solicited prepetition from one or more classes
                                                                                                                                   this petition.
                                                                                                           of creditors, in accordance with 11 US.C.'§ 11 26(b).
                                                                                                                                                                          THIS SPACE is FOR
 Statistical/Administrative Information                                                                                                                                   COURT USE ONLY
  ~            Debtor estimates that funds will be available for distrbution to unsecured creditors.
  D            Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there wil be no funds available for
               distrbution to unsecured creditors.
 Estimated Number of         Creditors

  D
  1-49
                 D
                 50-99
                                    D
                                     100-199
                                                     D
                                                     200-999
                                                                  D
                                                                  1,000-
                                                                                  D
                                                                                  5,001-
                                                                                                 D
                                                                                                 10,001-
                                                                                                                   ~
                                                                                                                   25,001-
                                                                                                                                       D
                                                                                                                                      50,001 -
                                                                                                                                                         D
                                                                                                                                                         Over
                                                                  5,000           10,000         25,000            50,000              100,000           100,000
 Estimated Assets

  D              D
                 $10,001 to
                                     D
                                     $100,001 to
                                                     D
                                                     $500,001
                                                                  D
                                                                  $1,000,001
                                                                                  D
                                                                                  $10,000,001
                                                                                                 D
                                                                                                 $50,000,001
                                                                                                                   ~
                                                                                                                   $100,000,001
                                                                                                                                       D
                                                                                                                                      $500,000,001
                                                                                                                                                         D
                                                                                                                                                         More than
  $0 to
  $50,000        $100,000            $500,000        to $1        to $10          to $50         to $100           to $500            to $1 bilion       $ 1 bilion
                                                     milion       milion          milion         milion            milion
 Estimated Liabilities
  D              D                   D               D            D
                                                                  $1,000,001
                                                                                  D
                                                                                  $10,000,001
                                                                                                 D
                                                                                                 $50,000,001
                                                                                                                   ~
                                                                                                                   $100,000,001
                                                                                                                                       D
                                                                                                                                      $500,000,001
                                                                                                                                                         D
                                                                                                                                                         More than
  $0 to          $10,001 to          $100,001 to     $500,001
  $50,000        $100,000            $500,000        to $1        to $10          to $50         to $100           to $500            to $1 bilion       $1 billion
                                                     milion       million         milion         milion            million
                                                                                                                                                                         American LegalNet, inc.
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 Voluntary Petition                                                                                       Name of Debtor( s):
  (This page must be completed and         filed in every case.)                               Monaco Coach Corporation
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (lfmore than two, attach additional sheet.)
 Location                                                                                                 Case Number:                                     Date Filed:
 Where Filed: N/ A                                                                                        N/A                                              N/A
 Location                                                                                                 Case Number:                                     Date Filed:
 Where Filed: N/ A                                                                                        N/A                                              N/A
                           Pending Bankruptcy Case Filed by any Spouse, Partner, or Affliate of               this Debtor (lfmore than one, attach additional sheet.)
  Name of Debtor:                                                                                         Case Number:                                   Date Filed:
  See attached Schedule 1                                                                                 N/A                                              N/A
  District:                                                                                               Relationship:                                    Judge:
  District of       Delaware                                                                              N/A                                              N/A
                                               Exhibit A                                                                                       Exhibit B
                                                                                                                             (To be completed if debtor is an individual
  (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                       whose debts are primarily consumer debts.)
  lOQ) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
  of the Securities Exchange Act of 1934 and is requesting relief under chapter i i.)                     I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                          have informed the petitioner that (he or she J may proceed under chapter 7, 1 1,
                                                                                                          12, or 13 of title i i, United States Code, and have explained the relief
                                                                                                          available under each such chapter. I furter certifY that I have delivered to the
                                                                                                          debtor the notice required by 1 i U.S.C. § 342(b).
                                                                                                          X
  ~        Exhibit A is attached and made a part of this petition.                                            Signature of Attorney for Debtor(s)                (Date)

                                                                                              Exhibit C
  Does the debtor own or have possession of any propeity that poses or is alleged to pose a theat of imminent and identifiable hanD to public health or safety?

  D        Yes, and Exhibit C is attched and made a part of         this petition.

  ~        No.


                                                                                             Exhibit D

  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhbit D.)

       D       Exhibit D completed and signed by the debtor is attached and made a part of ths petition.

  If this is a joint petition:

       D       Exhibit D also completed and signed by the joint debtor is attached and made a part of ths petition.

                                                                         Information Regarding the Debtor - Venue
                                                                                     (Check any applicable box.)
                 ~         Debtor has been domiciled or has had a residence, pricipal place of         business, or pricipal assets in ths Distrct for 180 days immediately
                           preceding the date of this petition or for a longer par of such 180 days than in any other Distrct.

                 D         There is a bankptcy case concerning debtor's affliate, general parer, or parership pending in this Distrct.

                 D         Debtor is a debtor in a foreign proceeding and has its pricipal place of business or principal assets in the United States in this Distrct, or
                           has no principal place of   business or assets in the United States but is a defendant in an action or proceeding (in a federl or state court) in
                           this District, or the interests of the parties wil be sered in regard to the relief sought in this Distrct.


                                                       Certification by a Debtor Who Resides as a Tenant of           Residential Property
                                                                                     (Check all applicable boxes.)

                 D             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                                          (Name of landlord that obtained judgment)



                                                                                                          (Address of landlord)

                 D             Debtor claims that under applicable nonbanptcy law, there are circumstances under which the debtor would be permtted to cure the
                               entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                 D             Debtor has included with this petition the deposit with the cour of any rent that would become due durig the 30-day period after the
                               fiing ofthe petition.

                 D             Debtor cerifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).


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  B 1 (Offcial Form) 1 (1I08)                                                                                                                                          Page 3
 Voluntary Petition                                                                           Name ofDebtor(s):
  (This page must be completed andfiled in every case.)                                       Monaco Coach Co oration
                                                                                       Si
                       Signature(s) of Debtor(s) (IndividuaVJoint)                                                    Signature of a Foreign Representative

  I declare under penally of perjury that the information provided in this petition is tme    i declare under penalty of perjury that the information provided in this petition is true
  and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
  (If petitioner is an individual whose debts are primarily consumer debts and has            and that I ani authorized to file this petition.
  chosen to fie under chapter 7) 1 am aware that I may proceed under chapter 7, 11, 12
  or 13 of title 11, United States Code, understad the relief available under each such       (Check only one box.)
  chapter, and choose to proceed undcr chapter 7.
                                                                                              D 1 rcquest relief in accordance with chapter iS oftitle 1 I, United States Code.
  (If no attorney represents me and no bankruptcy petition prepareI' signs the petition) I         Certified copies ofthe documents required by 11 U.S.c. § 1515 are attached.
  have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                              D Pursuant    to 11 U.S.C. § 1511, Irequest relief in   accordance with the
  I request relief in accordance with the chapter of title 11, United States Code,                 chapter oftitle 1 1 specified in this petition. A certified copy of the
  specified in this petition.                                                                      order granting recognition of the foreign main proceeding is attached.

  x                                                                                           x
        Signature of   Debtor                                                                     (Signature of   Foreign Representative)


  x
        Signature of Joint Debtor                                                                 (Printed Name of    Foreign Representative)



        Telephone Number (if not represented by     attorney)                                     Date

        Date

                                                                                                             Signature of   Non-Attorney Bankruptcy Petition Prcparer
 x                                                                                            I declare under penalty of perjury that: (1) I am a bankiptcy petition preparer as
                                                                                              defined in 11 U.S.c. § 110; (2) I prepared this document for compensation and have
                                                                                              provided the debtor with a copy of this document and the notices and information
                                                                                              required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       Printed Name of Attorney for Debtor(s)                                                 guidelines have been promulgated pursuant to 11 U.S.c. § 11 O(h) setting a maximum
       Pachulski Stang Ziehl & Jones LLP                                                       fee for services chargeable by banuptcy petition preparers, I have given the debtor
       Firm Name                                                                               notice of the maximum amount before preparing any document for filing for a debtor
       919 North Market Street, 17tli Floor                                                  . or accepting any fee from the debtor, as required in that section. Offcial Form 19 is
                                                                                              attached.
       Address
       Wilmington, DE 19899
                                                                                                  Printed Name and title, if any, of Bankuptcy Petition Preparer

       (302) 652-4100
       Telephone Number                                                                           Social-Security number (If the bankruptcy petition prepareI' is not an individual,
                                                                                                  state the Social-Security number of the offcer, principal, responsible person or
       March 5, 2009                                                                              parer of the banptcy petition preparer.) (Required by 11 U.S.c. § 110.)
       Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitues a
                                                                                                  Address
 certification that the attorney has no knowledge after an inquiry that the inormation
 in the schedules is incorrect.
                    Signature of   Debtor (CorporationlPartnershlp)
 I declare under penalty of perjury that the information provided in this petition is true   x
 and correct, and that I have been authorized to file this petition on behalf the
                                                                               of
 debtor.




                                        ~
                                                                                                  Date
 The debtor requests the relief in accordance with the chapter oftitle i 1, United States
 Code, specified' etition.                                                                   Signature of baniptcy petlion preparer or offcer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
 x
       Signature thorized Individual
                                                                                             Names and Social-Sccurity numbers of all other individuals who prepared or assisted
       Kay L. Toolson                                                                        in preparing this document unless the bankrptcy petition prepareI' is not an
       Printed Name of Authorized Individual                                                 individuaL.
       President
       Title of Authorized Individual                                                        If more than one person prepared this document, attach additional sheets conforming
       March -S' 2009                                                                        to the appropriate offcial form for each person.
       Date
                                                                                             A bankrptcy petiton preparer's failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             bot/i11 us.e. § 110; 18 uS.e. § 156.




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B I A (Offcial Form 1, Exhibit A) (9/97)

¡If debtor is required to file periodic reports (e.g.,forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of   the Securites Exchange Act of 1934 and is requesting relief  under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.)

                                  UNITED STATES BANKRUPTCY COURT
                                                               DISTRICT OF DELA WAR




In re Monaco Coach Corporation                                                              )       Case No. 09-

                                           Debtor                                           )

                                                                                            )

                                                                                            )       Chapter 11



                                            EXHIBIT "A" TO VOLUNTARY PETITION
          1. If any ofthe debtor's securities are registered under Section 12 of       the Securities Exchange Act of 1934, the
SEC fie number is 1-14725


      2. The following financial data is the latest available information and refers to the debtor's condition on
.September 27,2008

          a. Total assets                                                                   $            $442,115,000
          b. Total debts (including debts listed in 2.c, below)                             $            $208,822,000

          c. Debt securities held by more than 500 holders.                                                      Approximate
                                                                                                                  number of
                                                                                                                   Holders
          secured      D        unsecured D            subordinated 0              $

          secured      D        unsecured D            subordinated D              $
          secured      D        unsecured D            subordinated D              $
          secured      0        unsecured 0            subordinated D              $
          secured      D        unsecured D            subordinated D              $
                                                                                       1,934,783
          d. Number of shares of preferred stock                                       authorized           o
                                                                                       50,000,000
          e. Number of shares common stock                                             authorized           Unknown
             Comments, ifany: 29,939,313 issued shares common stock




                                                     Leading producer of diesel-powered motorhomes and major
          3. Brief description of debtor's business: manufactuer of motorized and towable recreational vehicles.




          4. List the names of any person who directly'or indirectly owns, controls, or holds, with power to vote, 5% or
more of    the voting securities of debtor: Franklin Resources, Inc.

                                                                                                                                        Net, Inc.
                                                                                                                             ww.FormsWorkflow.co
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                                                 SCHEDULE 1

Pending Bankptcy Cases Concurrently Filed by this Debtor and Affiliated Debtors:

Monaco Coach Corporation

Signature Motorcoach Resorts, Inc.

Naples Motorcoach Resort, Inc.

Port of    the Isles Motorcoach Resort, Inc.

Outdoor Resorts of Las Vegas, Inc.

Outdoor Resorts Motorcoach Country Club, Inc.

Signature Resorts of            Michigan, Inc.

La Quinta Motorcoach Resorts, Inc.

R-Vision Holdings L.L.c.


R-Vision, Inc.

R-Vision Motorized, LLC

Bison Manufacturing, LLC

Roadmaster LLC




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 All Other Names used by the Debtor in the
 last 8 years (include trade names):
          Monaco Coach; Monaco Division; Holiday Rambler Division; Holiday Rambler

Motorized Division; Holiday Rambler Towables Divison; Safari Division; Beaver Division;

McKenzie Towables Division; McKenzie Division; Roadmater Chassis Division; Nappanee

Wood Products; Holiday Graphics; Salmon Acquisition, Inc., SMC Corporation; Electronic

Design and Assembly, Inc.; Safar Motor Coaches, Inc.; Beaver Motor Coaches, Inc.; Magnum

Manufacturing, Inc.; Composite Technologies, Inc.; Electronic Design and Assembly Division;

ED&A Division; Royale Coach by Monaco, Inc. and Harney County Operations, Inc.




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